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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                     :
KAPPA ALPHA THETA FRATERNITY,        :
INC.; KAPPA KAPPA GAMMA              :
FRATERNITY; SIGMA CHI; SIGMA         :
ALPHA EPSILON; SIGMA ALPHA           :
EPSILON—MASSACHUSETTS                :
GAMMA; JOHN DOE 1; JOHN DOE 2;       :
JOHN DOE 3,                          :               Civil Action No. 18-cv-12485
                                     :
                  Plaintiffs,        :
                                     :
                 v.                  :
                                     :
HARVARD UNIVERSITY; PRESIDENT :
AND FELLOWS OF HARVARD               :
COLLEGE (HARVARD CORPORATION), :
                                     :
                  Defendant.         :
____________________________________ :


               PARTIES’ JOINT NOTICE OF SETTLEMENT AND
       REQUEST TO HOLD PENDING DISPOSITIVE MOTIONS IN ABEYANCE

       In light of the Parties’ expectation that this case will soon be voluntarily dismissed on the

basis of a settlement, the Parties jointly request that the Court hold in abeyance their pending

dispositive motions—specifically, Plaintiffs’ motion for preliminary or permanent injunction

(Dkt. 57), and Defendant Harvard’s motion to dismiss the case as moot (Dkt. 59).




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Dated: August 21, 2020                    Respectfully submitted,
  /s/ R. Stanton Jones                    /s/ Roberto M. Braceras
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on the date
of electronic filing.

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